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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE MIDDLE DISTRICT OF ALABAMA
                                ________________________ DIVISION
American Alliance for Equal Rights
_________________________________,                       )
                                                         )
        Plaintiff,                                       )
                                                         )
v.                                                       )   CASE NO. __________________
Kay Ivey, in her official capacity as Governor
                                                         )
_________________________________,                       )
                                                         )
        Defendants,                                      )

                                 CONFLICT DISCLOSURE STATEMENT
                             American Alliance for
       COMES NOW ___________________,           a
                                                    Plaintiff             in the above-captioned
                       Equal Rights
matter, and in accordance with the order of this Court, making the following disclosure
concerning parent companies, subsidiaries, partners, limited liability entity members and
managers, trustees (but not trust beneficiaries), affiliates, or similar entities reportable under
the provisions of the Middle District of Alabama’s General Order No. 3047:

                This party is an individual, or

                This party is a governmental entity, or

                There are no entities to be reported, or

                The following entities and their relationship to the party are hereby reported:


        Reportable Entity                                    Relationship to Party

        ________________________________                     _________________________________

        ________________________________                     _________________________________

        ________________________________                     _________________________________

        ________________________________                     _________________________________
         2/13/2024                                           /s/ Glenn E. Roper
                  Date                                       (Signature)
                                                             Glenn E. Roper
                                                             (Counsel’s Name)
                                                             American Alliance for Equal Rights
                                                             Counsel for (print names of all parties)
                                                             1745 Shea Center Drive, Suite 400
                                                             Highlands Ranch, Colorado 80129

                                                             Address, City, State Zip Code
                                                             (916) 503-9045

                                                             Telephone Number
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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                       ________________________ DIVISION


                             CERTIFICATE OF SERVICE



I,____________________________________, do hereby Certify that a true and correct copy
of the foregoing has been furnished by ___________________________(manner of service,
i.e., U.S. Mail, electronic mail, etc.) on this _______day of ____________ 20__, to:




             Date                                          Signature
